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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
                                  PENSACOLA DIVISION

THOMAS STALLWORTH and
WILLIE MAE STALLWORTH,

               Plaintiffs,

vs.
                                                   CASE NO: 3:06CV89MCR/EMT
THE HARTFORD INSURANCE COMPANY,
a Delaware Corporation and SEAN MANLEY,
Individually and As agent for Hartford

               Defendant.

                                               /


           DEFENDANT, THE HARTFORD INSURANCE COMPANY S
        MOTION FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFFS
                     SECOND AMENDED COMPLAINT

       The Defendant, THE HARTFORD INSURANCE COMPANY ( The Hartford ),

pursuant to Fed. R. Civ. P. 6 (b) and N. D. Fla. Loc. R. 7.1, hereby moves for a seven (7) day

extension of time within which to respond to the Second Amended Complaint of the Plaintiffs

and states as follows:

       1.      Pursuant to Order of this Court, the Plaintiffs served a Second Amended

Complaint via mail on October 14, 2006. THE HARTFORD INSURANCE COMPANY s

response to this Second Amended Complaint is due to filed with this Court on or before Monday,

October 30, 2006.

       2.      Due to undersigned counsel s recent schedule, which included out of town travel

and testimony as an expert witness, he has been unable to complete his preparation of the

response to this amended pleading.
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       3.      Undersigned counsel would respectfully request seven (7) days, up to and

including November 6, 2006, within which to file a responsive pleading to Plaintiffs Second

Amended Complaint.

                        COMPLIANCE WITH LOCAL RULE 7.1(B)

       The undersigned counsel has made several unsuccessful attempts to contact Pro Se

Plaintiff, THOMAS STALLWORTH, who lives in Texas and, therefore, is not able to advise the

Court of Plaintiffs position on Defendant s request for an extension of time.

       WHEREFORE, undersigned counsel respectfully requests a brief seven (7) day extension

of time within which to respond to Plaintiffs Second Amended Complaint.

                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 30, 2006, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system. I further certify that I mailed the

foregoing document and the notice of electronic filing by first-class mail to the following non-

CM/ECF participants: Thomas Stallworth and Willie Mae Stallworth, P.O. Box 941148,

Houston, TX 77094.

                                                     HINSHAW & CULBERTSON LLP


                                                     s/Joseph T. Kissane
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